         CASE 0:19-cv-02326-NEB-BRT Document 1 Filed 08/22/19 Page 1 of 4



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                                                                                                               COURT
                                                                                                          MINNESOTA
                      TINITED STATES DISTRICT COURfINNEAPOLIS,
                          DISTRICT OF MINNESOTA
banab                 Janjruso-n
                                              Jnn [t-aO'no"nnerniCOs1rlUtcS                                ttC
, vs.
                                   dffi                        caseNo         11.?rQ         c ruEB I'l*
                                                                  (To be assigned by Clerk of District Court)
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 Pva?4    Srz,Vcs. LIg
 PVa?4 SoVc
 tNl g W-#or-tSnr A$e
  t{nutwortfter, \l{ |                 b37cz                   DEMAND FOR JURY TRIAL

                                                                          *tE               Non
                            Defendant(s).

 (Enter the fuIl name(s) of ALL defendants in
 this lawsuit. Please attach additional sheets
 if   necessary).



                                             COMPLAINT

 PARTIES

 1.     List your name, address and telephone number. Do the same for any additional plaintiffs.
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2.   List all defendants. You should state the full name of the defendant, even if that defendant is
     a government agency, an organization, a corporation, or an individual. Include the address
     where each defendant may be served. Make sure that the defendant(s) listed below are
     identical to those contained in the above caption.

     a.   DefendantNo. I

          Name      L,lrJe/ts tra^qdf
                        UC 5 . l,U i$o^el-n el/e
          street Address t

          county, city ("fit\wor,tJtee-, ffiitNqrQ-oe

          state &   zip code        Nitcgf'Sl n ffi                    ?3>tZ
     b.   Defendant No. 2

          Nanre      Pl ctzo, Se,rrvtc-(^ ,l)-C-
          Street Address\\

          County,   City   U                                           lt
          State   & Zip Code       \\                                 tr
          Defendant No.    3


          Name

          Street Address

          County, City

          State   & Zip Code


NOTE: IF THERE ARE ADDITIONAL PLAINTIFFS OR DEFENDANTS' PLEASE
PROVIDE THEIR NAMES AND APDRESSES ON A SEPARATE SHEET OF PAPER.
Check here if additional sheets of paper are attached:n
Please label the attached sheets of paper to correspond to the appropriate numbered
paragraph above (e.g. Additional Defendahts Z.d.r2.e., etc.)

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       CASE 0:19-cv-02326-NEB-BRT Document 1 Filed 08/22/19 Page 3 of 4




JURISDICTION

Federal courts are courts of limited jurisdiction. Generally, two types of cases can be heard in
federal court: cases involving a federal question and cases involving diversity of citizenship of
the parties. Under 28 U.S.C. $ 1331, a case involving the United States Constitution or federal
laws or treaties is a federal question case. Under 28 U.S.C. $ 1332, a case in which a citizen of
one state sues a citizen of another state and the amount of damages is more than $75,000 is a
diversity of citizenship case.

3.   What is the basis for federal court jurisdiction? (check all that apply)

       iKu.o"rul     Question            ffioiu.rrity   of   C   itizenship

4.   If the basis for jurisdiction is Federal Question, which Federal Constitutional, statutory or
     treaty right is at issue? List all that apply.   CJOt"r^\ar        UndgtrC- Arff'gfiO O.rfrg
     t$$^        ctr6CI"b^l,Ie-^ on-h (A,Fbd€^J Lo,t,t:)

5. If the basis for jurisdictionis Diversity of Citizenship, what is the state of citizenship of each
     pafty? Each Plaintiff must be diverse from each Defendant for diversity jurisdiction.

     Plaintiff Name:                                         State of   citizenship:   ffftnne=Ofq
     Defendant No.     t:   tl.)e|\g   E,,;yp,p              State of   citizenship'   [\I"IIIW N&-"re   Wrqftrtrn
     DefendanrNo.      z:po2o.         €rr.rrig        tl-stat.     of citizenship,    fY^[ttu.-nrukfrg Wtuonsrn
     Affach additional sheets of paper as necessary and label this information as paragraph

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     What is the basis for venue in the District of Minnesota? (check all that apply)

       llOefe,raant(s)       reside in Minnesota   n    Facts alleged below prirnarily occuned in




Describe in the space provided below the basic facts of your clairn. The description of facts
should include a specific explanation of how, where, and when each of the defendants named in
the caption violated the law, and how you were hanned. Each paragraph must be numbered
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 separately, beginning with number 7. Please write each single set of circumstances in a
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